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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

TODD ERLING, on behalf of
himself and others similarly
situated,

           Plaintiff,

v.                                  Case No:      2:17-cv-350-FtM-29MRM

AMERICAN GRILLE WITH SUSHI
LLC,   a    Florida   profit
corporation and CHRIS K.
WHITAKER, individually,

           Defendants.



                              OPINION AND ORDER

      This matter comes before the Court on review of defendant’s

Motion to Dismiss Second Amended Complaint (Doc. #29) filed on

January   23,   2018.     Plaintiff    filed   a    Memorandum   of      Law   in

Opposition (Doc. #30) on February 6, 2018.

      On December 28, 2017, the Court issued an Opinion and Order

(Doc. #27) dismissing the Amended Complaint as a shotgun pleading

without prejudice to filing a second amended complaint, leaving

the   issues    raised   in   the   motion   to    dismiss    regarding        the

retaliation claim for another time, and granting the motion to

dismiss   defendants’    counterclaims.        Plaintiff     filed   a   Second

Amended Complaint (Doc. #28) on January 5, 2018, and defendants

are again seeking dismissal of the retaliation claim because
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plaintiff was not an employee as of May 22, 2017, a date prior to

the filing of the counterclaims, and therefore the counterclaims

could not be a basis for retaliation.         Plaintiff argues that the

highlighted factual allegations in the Second Amended Complaint

support the claim.

      Under Federal Rule of Civil Procedure 8(a)(2), a Complaint

must contain a “short and plain statement of the claim showing

that the pleader is entitled to relief.”        Fed. R. Civ. P. 8(a)(2).

In deciding a Rule 12(b)(6) motion to dismiss, the Court must

accept all factual allegations in a complaint as true and take

them in the light most favorable to plaintiff, Erickson v. Pardus,

551 U.S. 89 (2007), but “[l]egal conclusions without adequate

factual support are entitled to no assumption of truth,” Mamani v.

Berzain, 654 F.3d 1148, 1153 (11th Cir. 2011) (citations omitted).

      In Count III, plaintiff alleges that he was hired on or about

April 4, 2017, to work as a cook at $15.00 an hour, and thereafter

at a weekly salary of $700 per week.          (Doc. #28, ¶ 33.)      On or

about May 8, 2017, Manager Chris Whitaker spoke to plaintiff about

opening the restaurants for lunch in addition to dinner, but

plaintiff responded “that he had the cheapest chef in the world

and he would need more money to work additional hours as he was

already being less than minimum wage.”         (Id., ¶¶ 6, 35.)      On or

about May 22, 2017, plaintiff was terminated for complaining about

his wages.     (Id., ¶ 36.)     On June 2, 2017, plaintiff’s counsel



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sent a demand letter for unpaid wages, and subsequently filed suit

on June 22, 2017.      (Id., ¶ 30.)       On September 6, 2017, more than

three months after plaintiff left his employment, defendants filed

a Counterclaim against plaintiff alleging conversion and money

lent.   (Id., ¶ 31.)    “Plaintiff believes that his complaints about

his wages and the counterclaim filed with a retaliatory motive and

lacks a reasonable basis in fact or law.”         (Id., ¶ 32.)   Plaintiff

alleges that defendants retaliated for filing the lawsuit in

violation of 29 U.S.C. § 215(a)(3).          (Id., ¶ 34.)

      It is unlawful for any person “to discharge or in any other

manner discriminate against any employee because such employee has

filed any complaint or instituted or caused to be instituted any

proceeding under or related to this chapter, or has testified or

is about to testify in any such proceeding, or has served or is

about to serve on an industry committee.”          29 U.S.C. § 215(a)(3).

To state a claim for retaliation under the Fair Labor Standards

Act (FLSA), plaintiff must show that he engaged in protected

activity, subsequently suffered adverse action by the employer,

and a causal connection existed between the activity and the

adverse action.     Wolf v. Coca-Cola Co., 200 F.3d 1337, 1342 (11th

Cir. 2000).    “The burden of causation can be met by showing close

temporal proximity between the statutorily protected activity and

the adverse employment action.”       Thomas v. Cooper Lighting, Inc.,

506 F.3d 1361, 1364 (11th Cir. 2007).



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      The allegation that plaintiff told Whitaker that he would

require additional pay because “he was already being less than

minimum wage”, followed by his termination within the same month

would be sufficient to support the retaliation claim as there is

at least a temporal proximity.          Any retaliation claim based on the

counterclaims     is   clearly    subject        to   dismissal.      The   adverse

employment    action    in   response       to    the      “statutorily   protected

activity” had already occurred, and the counterclaims – which have

since been dismissed – were not filed until months after the

complaint was filed with the Court.                     As currently presented,

plaintiff    is   relying    on   the   filing        of   the   counterclaims   and

therefore Count III must be dismissed.

      Accordingly, it is now

      ORDERED:

      Defendant’s Motion to Dismiss Second Amended Complaint (Doc.

#29) is GRANTED.       The motion is granted to the extent that the

retaliation claim is based on the filing of counterclaims, and

Count III is dismissed for failure to state a claim.

      DONE AND ORDERED at Fort Myers, Florida, this                  28th    day of

February, 2018.




Copies: Counsel of record



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